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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


AUGUST CABRERA, et al.,

                   Plaintiffs,
                                             Case No. 19-cv-3835-JDB
           v.

ISLAMIC REPUBLIC OF IRAN,

                   Defendant.


MARK ZAMBON, et al.,

                   Plaintiffs,
                                             Case No. 18-cv-02065-JDB
           v.

ISLAMIC REPUBLIC OF IRAN,

                   Defendant.


                 AFGHANISTAN-BASED PLAINTIFFS’ MOTION FOR
                DEFAULT JUDGMENT FOR TRANCHE 1 PLAINTIFFS
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        Under this Court’s Case Management Order, Dkt. 1141, Plaintiffs file this motion for

default judgment for the Tranche 1 Plaintiffs against the Islamic Republic of Iran (“Iran”).

                                           BACKGROUND

        Plaintiffs are American service members and civilians, and their family members, who

were injured or killed in attacks in Afghanistan by the Taliban-led terrorist Syndicate. They

bring claims against Iran under the FSIA’s terrorism exception (28 U.S.C. § 1605A) for

providing material support for these attacks. See Second Amended Complaint (Dkt. 30), ¶¶ 1-5,

10-12. The Court granted Plaintiffs’ previous motion for a default judgment as to 112 bellwether

Plaintiffs, issuing two memorandum opinions in the process. See Dkts. 78 and 137. The Court

should now do the same for this first tranche of non-bellwether Plaintiffs.

        In its first Memorandum Opinion — after finding that it had jurisdiction, holding Iran

liable for materially supporting the bellwether attacks, and awarding damages to a subset of the

bellwether Plaintiffs under 28 U.S.C. § 1605A(c) — the Court stated it would appoint Special

Masters to make recommendations regarding the liability and damages of non-bellwether

Plaintiffs. See Dkt. 78 at 126. The Court ordered Plaintiffs to litigate the claims of the non-

bellwether Plaintiffs in two tranches. Dkt. 114. The Court then appointed ten Special Masters

on December 13, 2022 to consider the claims of the Tranche 1 Plaintiffs. Dkt. 129. Plaintiffs

made written submissions to the appointed Special Masters for each of the Tranche 1 Plaintiffs

on April 3, 2023, as required by the Case Management Order, Dkt. 114. The Special Masters

have completed their work. Plaintiffs now move for default judgment for the Tranche 1

Plaintiffs, based on the Special Masters’ Reports and Recommendations and supporting




        1
         Unless otherwise specified, citations to “Dkt.” are to the docket entries in Cabrera v. Islamic
Republic of Iran, No. 19-cv-3835-JDB.
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evidence, which we are submitting concurrently.2 Id. The Court should enter default judgment

against Iran for these Plaintiffs.

      I.           TRANCHE 1 PLAINTIFFS

           Tranche 1 contains 800 Plaintiffs, associated with 276 direct victims and 235 total

attacks. These numbers are broadly consistent with the numbers in Plaintiffs’ motion for a case

management order, Dkt. 113, which predicted that Tranche 1 would include “817 Plaintiffs,

associated with 275 direct victims and roughly 228 attacks.” Id. at 3. Plaintiffs noted that the

numbers would vary slightly because of the addition of new family-member Plaintiffs from the

Third Amended Complaint,3 which was filed after the motion for a case management order, and

because of difficulty communicating with certain clients. Id. at 3 n.2. As anticipated, the

number of Plaintiffs decreased slightly to 800. And the number of direct victims remained

almost the same — increasing by one. Now that the experts’ attribution analysis is complete, the

number of attacks in Tranche 1 also rose slightly to 235.

     II.           SPECIAL MASTER ASSIGNMENTS

           Plaintiffs’ counsel divided the Tranche 1 Plaintiffs among the ten appointed Special

Masters based on each Special Master’s availability. All Plaintiffs associated with a single

attack were assigned to the same Special Master. If possible, Plaintiffs’ counsel assigned attacks

based on the same location or tactics to increase efficiency. Plaintiffs’ counsel provided the

Special Masters with supporting evidence and requested damages awards for each of their

assigned Tranche 1 Plaintiffs on April 3, 2023. Because of changes in availability — and to



           2
           Plaintiffs likely will file a few targeted objections to some aspects of the Special Masters’
Reports and Recommendations by August 31, 2023, as required by the Order Adopting Administrative
Plan Concerning Special Masters, Dkt. 128.
         3
           Plaintiffs are serving the Third Amended Complaint, Dkt. 133, along with the default judgments
for the second set of bellwether Plaintiffs on Iran under 28 U.S.C. § 1608.


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ensure that all Special Masters could submit their reports by the Court’s August 1, 2023 deadline

— a few claims were reassigned to different Special Masters during the report-drafting phase.

        Each Special Master prepared a report, recommending findings on: (1) whether the Court

has subject-matter jurisdiction over each Plaintiff’s claims under 28 U.S.C. § 1605A; (2) whether

each Plaintiff stated a claim under the private right of action in § 1605A(c); and (3) the scope of

each Plaintiff’s damages. See Dkt. 128 at 2-3. In reaching their recommendations, the Special

Masters followed the Court’s July 19, 2022 Memorandum Opinion. Dkt. 78. On May 16, 2023,

while the Tranche 1 Special Masters were drafting their reports, the Court issued another

memorandum opinion and entered final judgment for the remaining bellwether Plaintiffs whose

damages claims it had earlier referred to Special Masters. Dkts. 137 and 138.4 Plaintiffs

promptly provided the Special Masters with this new decision and updated some of the requested

damages awards to ensure consistency with the Court’s Order.

    III.        TRANCHE 1 SUBMISSION

        Plaintiffs now file, under seal, the Reports and Recommendations from the ten Special

Masters appointed by the Court to consider claims in Tranche 1:

        Report and Recommendation of David L. Broom (Ex. 1)
        Report and Recommendation of Christopher A. Byrne (Ex. 2)
        Report and Recommendation of Eric D. Green (Ex. 3)
        Report and Recommendation of Paul G. Griffin (Ex. 4)
        Report and Recommendation of Shelby R. Grubbs (Ex. 5)
        Report and Recommendation of Lester J. Levy (Ex. 6)
        Report and Recommendation of Susan Meek (Ex. 7)
        Report and Recommendation of Brad Pigott (Ex. 8)
        Report and Recommendation of Stephen Allan Saltzburg (Ex. 9)
        Report and Recommendation of C. Jackson Williams (Ex. 10)

        4
          The Court dismissed the claims of one Plaintiff, K.E.F.V., because she was still in utero at the
time of the terrorist attack killing her father. See Dkt. 137 at 13. K.E.F.V. has appealed to the D.C.
Circuit. Dkt. 178. There are other Plaintiffs who were in utero at the time of the relevant attacks, but
because their claims would fail under this Court’s decision, Plaintiffs’ counsel removed them from
Tranche 1. Depending on the outcome of K.E.F.V.’s appeal, they may be included in Tranche 2. See
supra at 1.


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Some Special Masters prepared a single Report and Recommendation about all of their assigned

Plaintiffs, while others prepared a separate Report and Recommendation for each assigned

attack. Plaintiffs have compiled the separate Reports and Recommendations into a single PDF

for ease of submission.

        As required by the Court’s order, Plaintiffs are also submitting the written evidence on

which the Special Masters’ Reports and Recommendations are based. See Dkt. 114. First, each

Special Master’s Report and Recommendation includes a compendium of damages declarations

for Plaintiffs assigned to that Special Master. The compendium is attached as Exhibit A to each

of the Reports and Recommendations, and the declarations appear in the same order as Plaintiffs

in the Report and Recommendation. Some Special Masters requested updated declarations for a

few Plaintiffs. For those Plaintiffs, the compendium contains only the updated declaration. A

few of the damages declarations also have accompanying exhibits.5

        Second, Plaintiffs provided the Special Masters with an Excel workbook for calculating

prejudgment interest on individual damages awards and a counsel declaration explaining how to

use that workbook. These workbooks are similar to those Plaintiffs provided to the Court as part

of previous damages filings. See, e.g., Dkts. 73-1 and 73-2. The relevant counsel declaration is

attached as Exhibit B to each Report and Recommendation and the PDF of the workbook is

attached as Exhibit C.6


        5
           One of the exhibits — the medical records for SPC Jonathan O’Neill, who was injured in a June
2, 2006 IED-attack in Paktia Province — is larger than the document size limit for filing through ECF.
SPC O’Neill is included in Special Master Byrne’s Report and Recommendation. Plaintiffs are providing
the Court with an electronic copy of this exhibit.
         6
           The declarations and workbook PDFs were provided to the Special Masters on April 3, 2023.
The requested damages awards shown in the final sheet of each PDF thus do not reflect Plaintiffs’
revisions after the Court’s May 16, 2023 Opinion. They also include damages requests for the in utero
plaintiffs who were subsequently removed from Tranche 1. See supra at n.4. The Plaintiffs associated
with the following six attacks appear in the declarations and workbook PDF provided to Special Master


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       Third, the Special Masters also relied on expert reports analyzing the terrorist attacks. As

Plaintiffs previewed when seeking a Case Management Order governing the Tranche 1 claims,

Plaintiffs divided the Tranche 1 attacks between two experts: LTC Steven Wood (Ret.) and Dr.

Daveed Gartenstein-Ross. See Dkt. 113 at 4-5. LTC Wood testified live at the evidentiary

hearing in October 2021, and the Court qualified him as an expert in “attack attribution

analysis.” Dkt. 78 at 9. The Court adopted LTC Wood’s “sliding scale” methodology for

attributing an attack to a particular terrorist group, based largely on the geography and time

period and the tactics, techniques, and procedures. Id. at 27, 32-37. Dr. Gartenstein-Ross’

qualifications are set forth in section II of his expert report. See Gartenstein-Ross Tranche 1

Expert Report (Ex. 11) at 2-9. He applied the same methodology that the Court adopted in its

July 19, 2022 Memorandum Opinion. See id. at 10. Plaintiffs are filing both expert reports with

the Court. See Gartenstein-Ross Tranche 1 Expert Report (Ex. 11); Wood Tranche 1 Expert

Report (Ex. 12). As with the expert reports filed previously, Plaintiffs are providing electronic

copies of the exhibits for the Court’s reference. See Dkt. 59.

       Plaintiffs have also prepared Excel workbooks to aid the Court’s evaluation. The first is

a Master Tranche 1 spreadsheet, which contains a separate entry for each of the 800 Plaintiffs in

Tranche 1. Along with each Plaintiff’s name, which appears in Column A, this spreadsheet

contains the relevant direct victim’s name (Column B), and that Plaintiff’s relationship to that

direct victim (Column C). It also has a brief description of the relevant terrorist attack (Column

D) and the bellwether geography where that attack occurred (Column E). Columns F and G

indicate the Special Master who considered that Plaintiff’s claim and the Expert who analyzed

the relevant attack. Columns J and K contain the awards (pain and suffering or solatium) that

Williams but were subsequently reassigned to Special Master Green: 2009 07 07 IED Attack in Herat;
2010 02 05 IED Attack in Badghis; 2010 09 18 Small Arms Attack in Faryab; 2011 04 24 IED Attack in
Badghis; 2011 06 14 IED Attack in Farah; and 2012 04 04 Suicide Attack in Faryab.


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Plaintiffs requested — as updated following the Court’s May 16, 2023 Memorandum Opinion

(Dkt. 137). See supra at 4. Columns L and M show the award that the Special Master

recommended for each Plaintiff. Plaintiffs are filing a PDF printout of this spreadsheet

concurrently, see Ex. 13, and are providing a native version to the Court electronically.

       Finally, Plaintiffs are providing a set of Excel workbooks that calculate the prejudgment

interest on any damages awards the Court issues. These are similar to the workbooks that

Plaintiffs provided to each Special Master on April 3, 2023 — but updated to contain the awards

the Special Master recommended and reflect changes in Plaintiff assignment and participation.

Plaintiffs are providing the native version of all ten workbooks to the Court electronically.

                                         CONCLUSION

       The Court should enter default judgment against Iran for the Tranche 1 Plaintiffs.




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Dated: August 1, 2023

                                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of August, 2023, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to all counsel of record.


                                                     /s/ Joshua D. Branson
                                                     Joshua D. Branson




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